    Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 1 of 23




                11IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           VICTORIA DIVISION

                                           )
ANNA HARRIS,                               )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )
                                           )
JUSTIN MARR, Sheriff of Victoria           )
County, Texas, in his official and         )   Case No. 6:21-CV-39
individual capacities; CONSTANCE           )
FILLEY JOHNSON, District Attorney          )
for Victoria County Texas, in her official )
capacity; JOHN DOE, a currently            )
unidentified deputy at the Victoria        )
County Sherriff’s Office, in his           )
individual capacity,                       )
                                           )
              Defendants.                  )

                                           )


 PLAINTIFF’S RESPONSE TO THE DISTRICT ATTORNEY’S MOTION TO
                          DISMISS
       Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 2 of 23




                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES ....................................................................... ii

I.      RELEVANT FACTS .......................................................................... 3

II.     SUMMARY OF ARGUMENT........................................................... 5

III.    ARGUMENT...................................................................................... 6

        A.      This Court Has Subject-Matter Jurisdiction to Hear
                this Case. .................................................................................. 6

                1.      Harris Had Standing When this Case Was Filed,
                        and The Amended Complaint Relates Back to
                        That Time. ....................................................................... 6

                2.      The District Attorney Cannot Meet Her Heavy
                        Burden to Show Mootness by Voluntary
                        Cessation. ........................................................................ 8

                3.      Harris’s Claim for Nominal Damages, Which the
                        District Attorney Ignores, Is Alone Sufficient to
                        Give this Court Jurisdiction ........................................ 11

        B.      Harris States a Claim Against the District Attorney. ......... 13

                1.      The District Attorney Is the Appropriate
                        Defendant for Injunctive Relief Regardless of
                        “Personal Involvement” in Past Violations ................. 13

                2.      Harris Adequately Alleges That the District
                        Attorney’s Office Violated Her Constitutional
                        Rights ............................................................................ 15

        C.      The District Attorney’s Motion for Attorneys’ Fees Is
                Frivolous. ................................................................................ 18

IV.     CONCLUSION ................................................................................ 18




                                                      i
      Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 3 of 23




                                       TABLE OF AUTHORITIES

Cases
Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289 (1979) .............................. 7
City of Los Angeles v. Lyons, 461 U.S. 95 (1983) ........................................................... 7
City of Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283 (1982) ................................... 8
Daves v. Dallas County, 984 F.3d 381 (5th Cir. 2020) .................................................. 2
Doe v. Bolton, 410 U.S. 179 (1973) ................................................................................. 7
Donovan v. Cunningham, 716 F.2d 1455 (5th Cir. 1983) ............................................. 9
Fox v. Vice, 563 U.S. 826 (2011) ................................................................................... 18
Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167 (2000) 8
Hall v. Bd. of Sch. Comm’rs of Conecuh County, 656 F.2d 999 (5th Cir. 1981) .......... 9
Harper v. Lindsay, 616 F.2d 849 (5th Cir. 1980) ........................................................ 15
International Soc. for Krishna Consciousness of Atlanta v. Eaves,
  601 F.2d 809 (5th Cir. 1979) ....................................................................................... 7
Justice v. Hosemann, 771 F.3d 285 (5th Cir. 2014) .................................................... 12
Kentucky v. Graham, 473 U.S. 159 (1985)................................................................... 16
Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453 (5th Cir. 2005) ................................ 6
Menchaca v. Chrysler Credit Corp., 613 F.2d 507 (5th Cir. 1980) ............................... 3
Morris v. Livingston, 739 F.3d 740 (5th Cir. 2014) ..................................................... 14
Pembaur v. City of Cincinnati, 475 U.S. 469 (1986) ................................................... 16
Peterson v. City of Fort Worth, 588 F.3d 838 (5th Cir. 2009) ..................................... 16
Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833 (1992) ................... 15
Powell v. McCormack, 395 U.S. 486 (1969) ................................................................. 11
Roe v. Wade, 410 U.S. 113 (1973)........................................................................... 14, 15
Sossamon v. Lone Star State of Texas, 560 F.3d 316 (5th Cir. 2009) .......................... 9
Steffel v. Thompson, 415 U.S. 452 (1974). ............................................................... 7, 15
Texas v. EEOC, 933 F.3d 433 (5th Cir. 2019) ........................................................... 1, 6
United States v. Concentrated Phosphate Export Assn., 393 U.S. 199 (1968) ............. 8
Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2021) .................................................. 2, 12
White v. New Hampshire Dep’t of Emp. Sec., 455 U.S. 445 (1982) ............................ 18




                                                           ii
    Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 4 of 23




                                  INTRODUCTION

      When the Complaint in this case was filed, Plaintiff Anna Harris had just

been personally served with a criminal-trespass warning (CTW) saying that

Defendant District Attorney Constance Filley Johnson’s office would “generate[]” an

“offense report for criminal prosecution” against Harris if she ever again entered,

among other places, the Victoria County Courthouse. Harris thus properly named

the District Attorney as a defendant and requested both injunctive relief and

nominal damages. The District Attorney now moves to dismiss this case against her

on the related grounds that Harris lacks standing and fails to state a claim against

her. Both contentions lack merit, and this Court should deny the Motion.

      First, on the standing question, the District Attorney’s entire motion rests on

an incorrect conflation of standing with mootness. She argues that Harris lacks

standing to proceed against the District Attorney because after this suit was filed,

the District Attorney said that she would not prosecute Harris pursuant to the

CTW, which the District Attorney contends was “cancelled” by the complainant.

(Mot. 5–10.)1 But that fact does not impact standing because “standing is assessed

as of the date on which suit was filed.” Texas v. EEOC, 933 F.3d 433, 449 (5th Cir.

2019). Harris unquestionably had standing when the Complaint was filed.

      Instead, construing the District Attorney’s motion generously in light of the

Court’s independent obligation to assess subject-matter jurisdiction, the real


      1  The District Attorney’s Motion lacks page numbers. For clarity, Harris here uses
either the ECF page numbers generated in the document header or the Motion’s numbered
paragraphs, as appropriate.



                                           1
    Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 5 of 23




question is whether the District Attorney’s statement that she would not prosecute

Harris pursuant to the CTW and her contention that it has been withdrawn moot

this case. They do not. Because the District Attorney does not meet her heavy

burden to show mootness by voluntary cessation, and because the District Attorney

does not address Harris’s claim for nominal damages—which is alone sufficient to

give this Court jurisdiction under the Supreme Court’s recent decision in

Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2021)—her motion to dismiss for lack of

subject matter jurisdiction should be denied.

      Second, the District Attorney also argues that this case should be dismissed

for failure to state a claim because Harris does not allege that the District Attorney

herself directed the issuance of the CTW. This argument ignores the governing legal

standard for prospective relief against district attorneys in their official capacities,

which provides that officials “specially charged with the duty to enforce” an

unconstitutional order are subject to suit for injunctive relief against such

enforcement, Daves v. Dallas County, 984 F.3d 381, 400 (5th Cir. 2020) (internal

quotation omitted), and the well-pleaded facts of the Amended Complaint, which

explain that the District Attorney’s authorized representative declined to disclaim

the unconstitutional CTW by relying on the unconstitutional rationale for its

issuance.

      Finally, the District Attorney, citing no caselaw or other authority, asks this

Court to award her attorneys’ fees under 42 U.S.C. § 1988 because, in her view,

Harris’s case against her is “frivolous or non-meritorious.” This request is




                                           2
      Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 6 of 23




premature, and unsupported—indeed, it is itself frivolous. This Court should deny

it.

I.     RELEVANT FACTS

       On July 27, 2021, Plaintiff Anna Harris was served with a document labeled

“Victoria County Sheriff’s Office Criminal Trespass Warning [CTW].” FAC ¶ 1.2

This document states that Harris is indefinitely banned from, among other places,

the Victoria County Courthouse and the Victoria County Jail, and that attempts to

go to these places will result in “an offense report being generated in the [office of

Defendant] District Attorney [Constance Filley Johnson] for criminal prosecution.”

Id. This document states under “reason for CTW” that Harris is banned from the

courthouse and the jail for “making an inappropriate video.” Id.

       The next day, Harris’s counsel spoke with a representative of the District

Attorney’s office on the phone, FAC ¶ 37, and sent the District Attorney’s office a

letter explaining Harris’s claims for relief and requesting that she not prosecute

Harris for failing to comply with the CTW, FAC ¶¶ 38, 42. At that time, the District

Attorney’s office did not indicate that the District Attorney would decline to

prosecute Harris if she violated the CTW. Instead, after receiving initial notice by

phone, the District Attorney’s representative called Harris’s counsel and explained,

ostensibly on behalf of the District Attorney’s office, that Harris’s supposedly

inappropriate video was indeed inappropriate. FAC ¶ 37. Prior to the filing of this

       2 Because the District Attorney moved for dismissal facially, and without
challenging the facts alleged in the First Amended Complaint (ECF No. 11), those well-
pleaded facts are taken as true for purposes of this Motion. See, e.g., Menchaca v. Chrysler
Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980).



                                             3
    Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 7 of 23




suit, then, the District Attorney’s office was notified (1) that a CTW had issued, (2)

that it contained a statement threatening prosecution by the District Attorney’s

office, and (3) that the CTW issued under circumstances rendering it obviously

unconstitutional. And Harris specifically asked the District Attorney to disclaim

any intent to prosecute. The District Attorney did not do so and did not ask for more

time to consider the matter before Harris sued. Instead, her authorized

representative explicitly relied on Harris’s supposedly “inappropriate” video in

protesting Harris’s claims for relief.

      The next afternoon—about 24 hours after initially noticing the District

Attorney of the unconstitutional CTW and requesting that she disclaim

prosecution—Harris filed a Complaint and Motion for a Temporary Restraining

Order. ECF Nos. 1, 2. About an hour later, the District Attorney’s counsel emailed

Harris’s counsel saying that “the District Attorney’s Office will not prosecute your

client for failure to comply with the Criminal Trespass Warning.” FAC ¶ 42. Harris,

therefore, withdrew her request for a TRO by email to this Court, writing that “we

are no longer seeking emergency relief before Monday, and we thank the Court for

its prompt attention to this matter. We are not at the moment withdrawing our

request for injunctive relief (and do not waive our right to seek any appropriate

relief in the future), but no longer need the court’s immediate attention.” FAC ¶ 46

(internal alteration omitted).

      That night, Harris was arrested on trumped-up charges in retaliation for

filing this case. FAC ¶¶ 47–89. A few days later, Harris filed an Amended




                                          4
      Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 8 of 23




Complaint to seek relief for the post-filing harms she suffered. FAC ¶¶ 47–163.

Harris does not allege that the District Attorney caused those post-filing harms,

and the parties who did (the Sheriff and, potentially, a currently unidentified

Sheriff’s Deputy) have not moved to dismiss the Amended Complaint.

II.    SUMMARY OF ARGUMENT

       First, the District Attorney moves to dismiss this case for lack of standing

because she said—by email, through counsel, and in direct response to the filing of

the Complaint in this case—that she would not prosecute Harris under the CTW.

That is not a question of standing, which unquestionably existed at the time of

filing. The real question is whether the case has been mooted by the District

Attorney’s purported voluntary cessation of enforcement of the CTW. The District

Attorney cannot meet her heavy burden to show mootness by voluntary cessation.

In any event, the request for nominal damages—which the District Attorney ignores

in her motion—renders even this mootness inquiry irrelevant, because that request

alone is sufficient to sustain the case.

       Second, the District Attorney argues that she is not a proper defendant

because she lacks “[p]ersonal involvement” in the issuance of the CTW. But she

misunderstands the governing legal standard for injunctive relief against public

officials, and she overlooks her own decision to allow threatened prosecution under

the CTW to remain in force until this matter was filed.

       Finally, she asks for attorneys’ fees as a prevailing party, but ignores both

the legal standard governing such requests and the fact that she has not yet

prevailed. Her Motion should be denied in its entirety.


                                           5
       Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 9 of 23




III.    ARGUMENT

        A.    This Court Has Subject-Matter Jurisdiction to Hear this Case.

        At the time the Complaint in this case was filed, Harris had just been

threatened with prosecution for entering a public courthouse, and the District

Attorney had just declined a clear opportunity to disclaim such a threat. Harris

thus sought injunctive relief and nominal damages. Under well-established First

Amendment precedent, this gives Harris standing to sue. The District Attorney’s

post-filing attempt to show that she will not enforce the CTW does not moot this

case.

              1.    Harris Had Standing When this Case Was Filed, and The
                    Amended Complaint Relates Back to That Time.

        “[S]tanding is assessed as of the date on which suit was filed.” Texas, 933

F.3d at 449; see also Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 460 (5th Cir.

2005) (“As with all questions of subject matter jurisdiction except mootness,

standing is determined as of the date of the filing of the complaint.” (quotation

marks omitted)). The District Attorney does not appear to dispute—because she

cannot—that Harris had standing against the District Attorney when the

Complaint was filed.

        Harris had standing then because plaintiffs need not wait to be prosecuted to

seek relief under the First Amendment from criminal prosecution. “When the

plaintiff has alleged an intention to engage in a course of conduct arguably affected

with a constitutional interest . . . and there exists a credible threat of prosecution,”

that person “should not be required to await and undergo a criminal prosecution as



                                           6
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 10 of 23




the sole means of seeking relief.” Babbitt v. United Farm Workers Nat. Union, 442

U.S. 289, 298 (1979) (quotation marks omitted); International Soc. for Krishna

Consciousness of Atlanta v. Eaves, 601 F.2d 809, 818 (5th Cir. 1979) (standing exists

if the plaintiff is “interested in disobeying” the law). Here, Harris was specifically

threatened with criminal prosecution by the District Attorney if she engaged in a

course of conduct that she both wished to continue—visiting the courthouse and

other public buildings again in her lifetime—and that she had an obvious (and

presently undisputed) First Amendment right to engage in. E.g., FAC ¶ 1. She

therefore had standing to sue when she filed the Complaint.

      It is possible, although not certain, that if Harris had filed this case after the

District Attorney disclaimed any intention to prosecute under the CTW, or after it

had been supposedly withdrawn by the complainant, Harris may have lacked

standing to seek prospective relief under City of Los Angeles v. Lyons, 461 U.S. 95

(1983), on which the District Attorney relies. Mot. 5–7; but see Int’l Soc. for Krishna

Consciousness, 601 F.2d at 818 (“probability of enforcement” is a prudential

consideration but “is not relevant to a court’s jurisdiction over an anticipatory

challenge”). But Harris filed the Complaint before any of that happened, when the

CTW was still in force. And the Amended Complaint relates back to the moment the

Complaint was filed, as though the Amended Complaint had been filed at that time.

Fed. R. Civ. P. 15(c) (relation back of amendments); see, e.g., McClellon v. Lone Star

Gas Co., 66 F.3d 98, 102 (5th Cir. 1995) (explaining relation back). Indeed, the

Supreme Court has already distinguished Lyons on precisely the grounds that




                                          7
    Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 11 of 23




Harris relies on here. Friends of the Earth, Inc. v. Laidlaw Env’tl Servs. (TOC), Inc.,

528 U.S. 167, 184–85 (2000) (“Lyons . . . does not weigh against standing” because

there “in contrast [to Lyons], it is undisputed that [the defendant’s] unlawful

conduct . . . was occurring at the time the complaint was filed.” (emphasis added)).

Plaintiff has standing, and the only question is whether events after the filing of the

Complaint render this case moot.

             2.     The District Attorney Cannot Meet Her Heavy Burden to Show
                    Mootness by Voluntary Cessation.

       By requesting that this case be dismissed based on her lawyer’s unsupported

representation by email that the CTW complainant “withdrew” the CTW and that

the District Attorney will not enforce it, the District Attorney is really asking this

Court to find Harris’s request for injunctive relief moot. But “a defendant’s

voluntary cessation of allegedly unlawful conduct ordinarily does not suffice to moot

a case.” Laidlaw, 528 U.S. at 174. Otherwise, “the courts would be compelled to

leave the defendant . . . free to return to his old ways.” Id. at 189 (quotation marks

omitted)). Thus, to show that a case has been mooted by voluntary cessation of an

unconstitutional practice, a defendant must prove that events after the filing of the

Complaint make it “absolutely clear that the allegedly wrongful behavior could not

reasonably be expected to recur.” United States v. Concentrated Phosphate Export

Assn., 393 U.S. 199, 203 (1968) (emphasis added). The burden is on the defendant,

and it is a “heavy” one. Laidlow, 528 U.S. at 189. The District Attorney cannot meet

it here.

       Courts often find a case mooted by formally announced or adopted policy



                                          8
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 12 of 23




changes, reasoning that formal policies are less likely to be immediately reversed

after litigation ends. See Sossamon v. Lone Star State of Texas, 560 F.3d 316, 325

(5th Cir. 2009). But this line of cases requires that there actually be a formally

announced change to policy, and it requires that defendants offer “more than their

mere profession that the conduct has ceased and will not be revived.” Hall v. Bd. of

Sch. Comm’rs of Conecuh County, 656 F.2d 999, 1000–01 (5th Cir. 1981); see also

Donovan v. Cunningham, 716 F.2d 1455, 1461 (5th Cir. 1983) (holding that “bare

assurances” were “clearly insufficient to meet [the defendants’] burden of

persuasion” on mootness by voluntary cessation).

      Because she used an inapplicable legal doctrine, the District Attorney does

not even attempt to meet that heavy burden here. She could not do so anyway. For

starters, the District Attorney has pointed to no formal, in-person withdrawal of the

CTW, which says explicitly that “[s]hould the complainant desire to cancel this

CTW, the complainant must contact the VCSO [Victoria County Sheriff’s Office]

either in person or summon a patrol unit to the complainant’s location and request

a cancellation in person. A cancellation of a CTW cannot be done over the phone or

by a second party.” ECF No. 1-1. Nor is there any kind of binding affidavit or

declaration subject to penalty of perjury that the CTW has actually been

withdrawn. Instead, the District Attorney supports her motion to dismiss with no

more than a bald statement in her motion describing an email saying that the CTW

“was canceled . . . on July 29, 2021.” Mot. ¶ 2. This does not meet the demanding

“absolutely clear” standard.




                                         9
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 13 of 23




      Further, she has nowhere even said that she does not intend to prosecute

Harris for mere entry into public buildings, which relief Harris explicitly seeks in

the Amended Complaint. FAC ¶ 141. That is, the Amended Complaint contemplates

that Defendants may devise other mechanisms to silence Harris (which the Sheriff,

by arresting her in retaliation for this case, FAC ¶¶47–89, and by probing for

reasons to arrest her if she departs from his vision of appropriate courtroom

behavior, FAC ¶¶ 103–111, in fact did), and therefore seeks relief not merely from

enforcement of the CTW but also from all other attempts to ban Harris from public

buildings. See FAC at 25 (requesting “[a]n order enjoining District Attorney

Constance Filley Johnson or any of her agents from taking any prosecutorial action

against Harris pursuant to the Criminal Trespass Warning, or for merely entering

any public buildings.” (emphasis added)). The District Attorney does not even

contend that she will not prosecute Harris for mere entry into a public building in

the future, whether on trumped-up charges (not a speculative prospect in this case,

unfortunately) or on a future CTW. That request has thus also not been mooted.

      Indeed, the circumstances of this case make it eminently reasonable to fear

that Harris will suffer prosecution unconstitutionally in the future, be it pursuant

to a CTW or on trumped-up charges in response to mere entry into a public

building. The District Attorney’s office was given a clear opportunity to disclaim

prosecution pursuant to the CTW, which on its face issued merely because Harris

made an allegedly “inappropriate” video, and which indefinitely bars Harris from

the entire courthouse, the jail, and almost all the county government’s public




                                        10
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 14 of 23




facilities. Instead of immediately disclaiming reliance on such an obviously

unconstitutional document, the District Attorney’s representative instead protested

that the video was inappropriate, and that Harris was a questionable plaintiff for

some other unstated reason. FAC ¶ 37. Only after receiving a request for an

emergency TRO in federal court—which Harris was entitled to—did the District

Attorney disclaim prosecution, and even then only under the original CTW, and

neither under oath nor in any other formal capacity. These are not actions that

make it absolutely clear that constitutional violations will not recur.

             3.     Harris’s Claim for Nominal Damages, Which the District
                    Attorney Ignores, Is Alone Sufficient to Give this Court
                    Jurisdiction

      Even if the request for injunctive relief were moot (and it is not), the nominal

damages claim is not. The requests are evaluated independently because “[w]here

one of the several issues presented becomes moot, the remaining live issues supply

the constitutional requirement of a case or controversy.” Powell v. McCormack, 395

U.S. 486, 497 (1969) (holding that damages claim could proceed where request for

injunctive relief was moot). Here, Harris’s Amended Complaint seeks nominal

damages against the District Attorney in her official capacity on counts one, two,

and three, which are based on the unconstitutional CTW. The District Attorney

does not address these claims specifically in her motion to dismiss. Because Harris

had standing to file suit at the time of the original Complaint, because her Amended

Complaint relates back to that time, and because at that time she alleged a

completed constitutional violation, Harris’s nominal damages claims are alone

sufficient to give this Court jurisdiction to hear this case. The District Attorney’s


                                          11
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 15 of 23




Rule 12(b)(1) motion, then, may be denied on this basis alone without even

considering Harris’s argument that the District Attorney has not met her burden to

prove mootness by voluntary cessation.

      The Supreme Court reinforced this conclusion earlier this year in

Uzuegbunam v. Preczewski, 141 S. Ct. 792 (2021). In Uzuegbunam, a college student

was threatened with disciplinary action under a campus-speech policy if he

persisted in speech that he had a clear First Amendment right to voice. Id. at 797.

While that policy was in force, the plaintiff sued, seeking injunctive relief and

nominal damages. Id. Shortly thereafter, the defendant college abandoned the

challenged policy, and argued that the case was therefore moot. Id. The Supreme

Court disagreed, and held that “for the purpose of Article III standing, nominal

damages provide the necessary redress for a completed violation of a legal right.” Id.

at 808.

      So too here. Harris sought nominal damages while actively subject to a

threatened prosecution if she engaged in conduct obviously protected by the First

Amendment. As a result, and as the District Attorney appears to acknowledge, her

speech rights were chilled, completing a constitutional violation. Mot. ¶ 4 (motion to

dismiss acknowledging that Harris “fears” prosecution); FAC ¶ 119 (“Because of the

CTW, Harris feared that she could not attend that trial without fear of immediate

arrest and prosecution.” (emphasis added)); Justice v. Hosemann, 771 F.3d 285, 291

(5th Cir. 2014) (“In First Amendment pre-enforcement challenges, chilling a

plaintiff’s speech is a constitutional harm adequate to satisfy the injury-in-fact




                                         12
    Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 16 of 23




requirement.” (quotation marks omitted)). That is sufficient to maintain a live case

or controversy.3

       B.     Harris States a Claim Against the District Attorney.

       The District Attorney next moves to dismiss the Amended Complaint on the

grounds that Harris has not pleaded the District Attorney’s “personal involvement”

in the constitutional violations alleged and that Harris has failed to meet a

“heightened” pleading standard to specifically allege what the District Attorney has

done. Mot. 10–13. This is both legally wrong and factually inaccurate. Legally, as to

Harris’s claim for injunctive relief, the only question is whether the District

Attorney is the official charged under state law with enforcing the unconstitutional

order alleged in the Amended Complaint, which she is. Factually, as to Harris’s

claim for nominal damages, Harris does allege that the District Attorney’s office

violated her Constitutional rights because an authorized representative, acting on

behalf of her office, not only declined to disclaim the unconstitutional document that

issued with a threat that her office would prosecute Harris but also doubled down

on the rationale for the unconstitutional order. FAC ¶ 37.

              1.      The District Attorney Is the Appropriate Defendant for Injunctive
                      Relief Regardless of “Personal Involvement” in Past Violations

       Harris seeks an injunction against the District Attorney, in her official


       3  Notwithstanding Harris’s specific mention of fear of future prosecution at FAC
¶ 119, the District Attorney claims the Complaint is deficient because elsewhere she has
alleged only fear of future arrest, not fear of future prosecution. Mot. ¶¶ 18, 23, n.1. But the
fear of the prosecution accompanying an arrest is part of why anyone would fear being
arrested. And context makes clear that Harris fears both. In any event, should the Court
find this partial omission to be dispositive, Harris respectfully requests leave to amend the
complaint to clarify that she indeed fears future prosecution.



                                              13
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 17 of 23




capacity, forbidding her “or any of her agents from taking any prosecutorial action

against Harris pursuant to the Criminal Trespass Warning, or for merely entering

any public buildings.” FAC 25. The District Attorney moves to dismiss on the

ground that she lacks “personal involvement” in the issuance of the CTW. Mot.

¶¶ 26–27. This is a non sequitur. The District Attorney is the proper defendant for a

request for injunctive relief restraining an unconstitutional prosecution regardless

of her involvement in the issuance of the CTW or her past actions at all.

      The District Attorney does not dispute, nor could she, that she has unilateral

authority to prosecute state criminal violations that occur in Victoria County. See

Crane v. Texas, 759 F.2d 412, 430 (5th Cir. 1985) (“[B]ecause the ultimate authority

for determining [the challenged] procedures reposed in the District Attorney, an

elected County official, his decisions in that regard must be considered official policy

attributable to the County.”). Binding law makes clear that she is thus the proper

defendant for a request for injunctive relief that only she can provide: prevention

from an unconstitutional state criminal prosecution. Indeed, the Ex Parte Young

doctrine is premised on the fact that an official with “the particular duty to enforce

the statute in question and a demonstrated willingness to exercise that duty” is the

proper defendant in a federal action under § 1983 restraining unconstitutional

governmental conduct. Morris v. Livingston, 739 F.3d 740, 746 (5th Cir. 2014)

(quotation marks omitted). Thus, Texas district attorneys are proper defendants in

cases requesting injunctions against unconstitutional prosecutions. See Roe v.

Wade, 410 U.S. 113, 120 (1973) (Plaintiff Jane Roe sued Dallas County District




                                          14
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 18 of 23




Attorney Henry Wade seeking “a declaratory judgment that the Texas criminal

abortion statutes were unconstitutional on their face, and an injunction restraining

the defendant from enforcing the statutes”); modified on other grounds by Planned

Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833 (1992); see also Steffel, 415

U.S. at 455 (Georgia prosecutor known there as “solicitor” proper defendant in

action claiming prosecution would be unconstitutional); Harper v. Lindsay, 616 F.2d

849, 852 (5th Cir. 1980) (Harris County District Attorney defendant in action to

restrain prosecution under unconstitutional law).

      The question whether the official is at fault, or ultimately responsible, for the

unconstitutional action is irrelevant—and this makes sense. When, for example, a

state passes a law that allegedly violates the Constitution, the officials tasked with

enforcing those laws are proper defendants in federal court even where they had no

role in the law’s passage and did nothing to specifically threaten the plaintiff.

District Attorney Henry Wade is the paradigmatic defendant: he had no role in the

passage of the abortion restriction at issue at in Roe v. Wade and had no pre-

existing relationship with plaintiff Jane Roe, whose identity he did not even know.

Nonetheless, he was the proper defendant in a case alleging that Roe’s prosecution

would have been unconstitutional. So too here.

             2.    Harris Adequately Alleges That the District Attorney’s Office
                   Violated Her Constitutional Rights

      Next, without making any distinction between claims for nominal damages

and for prospective relief, the District Attorney contends that the Complaint does

not “allege facts committed on behalf of District Attorney Johnson” that “if true



                                         15
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 19 of 23




would amount to a civil rights violation.” Mot. ¶ 28. This ignores concrete factual

allegations that state a completed claim for nominal damages.

       To get nominal damages against the District Attorney in her official

capacity, Harris is required to show that “(1) an official policy (2) promulgated by

[the District Attorney as a county] policymaker (3) was the moving force behind the

violation of a constitutional right.” Peterson v. City of Fort Worth, 588 F.3d 838, 847

(5th Cir. 2009). That is because, for purposes of damages liability—although not

necessarily for purposes of injunctive relief—a lawsuit against the District Attorney

in her official capacity is a lawsuit against Victoria County. See, e.g., Crane, 759

F.2d at 430; see also Kentucky v. Graham, 473 U.S. 159, 165 (1985) (“Official-

capacity suits . . . generally represent only another way of pleading an action

against an entity of which an officer is an agent.” (internal citation and quotation

omitted)). In Pembaur v. City of Cincinnati, the Court held that counties can be

liable for single decisions because “where action is directed by those who establish

governmental policy, the municipality is equally responsible whether that action is

to be taken only once or to be taken repeatedly.” 475 U.S. 469, 479 (1986). There is

no question that the District Attorney has final policymaking authority over her

office, Crane, 759 F.2d at 430, and so the only question is whether Harris alleges

facts leading to a reasonable inference that she directed an unconstitutional action.

      Here, Harris pleads facts that give rise to the reasonable inference that the

District Attorney, when presented with the unconstitutional CTW, explicitly chose

to reaffirm it on its own stated rationale that Harris’s video was “inappropriate,”




                                          16
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 20 of 23




and that as a result Harris’s speech rights were chilled. FAC ¶ 37. On July 28, 2021,

counsel for Harris spoke with Tammy Deyton, a representative of the District

Attorney’s office, explaining that Harris was planning to seek emergency relief

against the CTW. FAC ¶ 34. At that point Deyton was apparently unaware that a

CTW had issued and did not know who Harris was. FAC ¶ 35. Forty-five minutes

later, Deyton called back. FAC ¶ 37. This time, she (a) knew about the CTW, (b)

knew about the video that led to the CTW, and (c) explained that the video was

inappropriate (as the CTW alleges) and, therefore, implied that Harris—whom she

insulted with other irrelevant allegations—should indeed be subject to a CTW. FAC

¶ 35. It is at least reasonable to infer from these facts that Deyton took those 45

minutes to seek instructions from her superior, the District Attorney, about

whether to disclaim prosecution under the CTW. And, this being a motion to

dismiss, all reasonable inferences are drawn in Harris’s favor. Perhaps at trial the

jury will find that this is not what happened, but for purposes of this motion Harris

has alleged concrete facts giving rise to the plausible inference of a policymaking

decision by the District Attorney to reaffirm the unconstitutional CTW.

      Further, the Complaint presents plausible facts that the way the District

Attorney treats CTWs is unconstitutional. A reasonable inference from the fact that

the pre-printed CTW form tells recipients that “an offense report will be generated

in the District Attorney’s Office for criminal prosecution” is that criminal charges

will be filed by the prosecutor in those cases. It also reasonable to infer that the

language included in that form would have been vetted and approved by the elected




                                         17
      Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 21 of 23




District Attorney before it went on a form that is used county-wide in CTWs and in

criminal prosecutions. The fact that the District Attorney appears to endorse CTWs

with credible threats of prosecution is additional reason to support nominal

damages liability. Based on these facts and inferences, Harris is entitled to further

develop these facts through discovery.

        C.    The District Attorney’s Motion for Attorneys’ Fees Is Frivolous.

        Finally, in two paragraphs tacked onto the end of the Motion that fail to cite

any caselaw or an accurate legal standard, the District Attorney asks this Court to

award her attorney’s fees under 42 U.S.C. § 1988. This request is itself frivolous.

First, under that provision, a court may award attorney’s fees to a “prevailing

party,” and the District Attorney has not yet prevailed. The request is thus

premature. White v. New Hampshire Dep’t of Emp. Sec., 455 U.S. 445, 451–52

(1982) (a “court’s decision of entitlement to fees will . . . require an inquiry separate

from the decision on the merits—an inquiry that cannot even commence until one

party has ‘prevailed.’”). Second, the District Attorney has not come close to showing

that the claims against her are “frivolous, unreasonable, or without foundation,”

which is the applicable standard to award attorney’s fees to prevailing defendants

under § 1988. Fox v. Vice, 563 U.S. 826, 833 (2011). As Harris’s counsel explained to

the District Attorney in the email submitted to this Court, reasonable minds may

differ as to the ultimate merits of Harris’s claims against the District Attorney, but

the claims are not frivolous. ECF No. 13-1.

IV.     CONCLUSION

        For the foregoing reasons, the District Attorney’s Motion to Dismiss under


                                           18
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 22 of 23




Rules 12(b)(1) and 12(b)(6) and her accompanying request for attorney’s fees under

42 U.S.C. § 1988 should be denied.



                               Respectfully submitted,

                               /s/ Charles Gerstein
                               Charles Gerstein
                               GERSTEIN HARROW LLP
                               611 Pennsylvania Ave SE, No. 317
                               Washington, DC 20003
                               charlie@gerstein-harrow.com
                               (202) 670-4809

                               /s/ Jason Harrow
                               Jason Harrow
                               (S.D. Tex. Bar No. 3690695)
                               GERSTEIN HARROW LLP
                               3243B S. La Cienega Blvd.,
                               Los Angeles, CA 90016
                               jason@gerstein-harrow.com
                               (323) 744-5293

                               /s/ Nathan Fennell
                               Nathan Fennell
                               (S.D. Tex. Bar No. 3547280)
                               TEXAS FAIR DEFENSE PROJECT
                               314 E Highland Mall Blvd, Suite 204
                               Austin, TX 78752
                               nfennell@fairdefense.org
                               (512) 637-5222

                               Attorneys for the Plaintiff




                                       19
   Case 6:21-cv-00039 Document 17 Filed on 09/09/21 in TXSD Page 23 of 23




                       CERTIFICATE OF WORD COUNT

      This response contains 4,985 words, not including sections excluded by this

Court’s rules, according to Microsoft Word’s word count tool.



      /s/ Charles Gerstein




                                         20
